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                              United States District Court
                                        for the
                              Southern District of Florida

 Barbara Stone and others,                 )
 Plaintiffs,                               )
                                           )
 v.                                        ) Civil Action No. 20-22346-Civ-Scola
                                           )
 Nelson Mullins Riley & Scarborough
 LLP and others, Defendants.
                               Order Of Dismissal
        The Plaintiff failed to timely serve the Defendant(s) in this case. The Plaintiff
 filed her Complaint on April 3, 2020, and was responsible for serving the
 Defendant(s) with a summons and complaint by July 2, 2020. Fed. R. Civ. P.
 4(c)(1); Fed. R. Civ. P. 4(m). Previously, the Court notified the Plaintiff, in ke e pi ng
 with Rule 4(m), that the Court would dismiss this case without pre judice unl e ss
 the Plaintiff established that she served the Defendant(s) timely or that good
 cause existed for her failure to timely serve the Defendant(s). She did neither.
        Consequently, because the Plaintiff has not established good cause for he r
 failure to serve and because an extension of the time to do so is not warranted,
 the Court dismisses this action without prejudice, and directs the Clerk of the
 Court to close the case. The Court directs the Clerk to mail this order to the
 addresses listed below.
       Done and ordered at Miami, Florida, on July 14, 2020.


                                               ________________________________
                                               Robert N. Scola, Jr.
                                               United States District Judge

 Copies to:
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 Miami, FL 33130

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